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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF GEORGIA
                            SAVANNAH DIVISION

KESHA GIBSON-CARTER,                            )
                                                )
      Plaintiff,                                )
v.                                              )
                                                )
RAPE CRISIS CENTER,                             )
GILBERT BALLARD,                                )
CHERYL BRANCH,                                  )
HEATHER BOOTH,                                  )
ROBERT BRYSON,                                  )
DEENA CAMACHO,                                  )    Case No.
SANDRA CLARK,                                   )
PAT DOUGLAS,                                    )
KIMBERLY FRITZ-TANNER,                          )    JURY TRIAL DEMANDED
WENDY FUREY,                                    )
ROSE GRANT-ROBINSON,                            )
MEG HEAP,                                       )
JOSEPH HOGAN,                                   )
MIKE HUGHES,                                    )
A. BLAIR JEFFCOAT,                              )
KATIE JOYNER-BARBER,                            )
MATT LIBBY,                                     )
JOSEPH LUMPKIN,                                 )
BRETT LUNDY,                                    )
MARK MERRIMAN,                                  )
MARK REVENEW,                                   )
MARY ROBERTS,                                   )
CHERYL ROGERS,                                  )
KEVIN SHEA, and                                 )
LYNNE WOLF.                                     )
                                                )
      Defendants.                               )
                                                )

                                    COMPLAINT

      Plaintiff Kesha Gibson-Carter files this Complaint against Defendants to recover

all permissible damages under controlling law for violation of Ms. Gibson-Carter’s


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rights pursuant to Title VII of the Civil Rights Act of 1964 (42 U.S.C. § 2000e et seq and

42 U.S.C. § 1981), 42 U.S.C. § 1983, and 42 U.S.C. § 1985(3) and all other applicable laws.

                                    INTRODUCTION

       The Rape Crisis Center (RCC) Board members and its Savannah Community

Partners (SCP) and the Criminal Justice Coordinating Council (CJCC) conspired to get

rid of Ms. Gibson-Carter after she made public statements that law enforcement entities

in the surrounding community were not doing their due diligence in investigative work

or subsequent arrests and prosecution of sexual assault offenders. For speaking out as

an advocate and on behalf of victims of rape, in her capacity as Executive Director of the

RCC, the RCC Board members and the SCP sacrificed her, silencing her critically

necessary voice from a conversation that has weight for not only the sexual assault

victims in the Savannah community, but for our country’s community at large.

       Prior to her public statements alluding to deficiencies in the Chatham County

District Attorney’s office, the RCC Board never expressed any issues with Ms. Gibson-

Carter’s performance as Executive Director; when the SCP sent a letter to the RCC

complaining of dissatisfaction, it tipped the first domino in a fall that resulted in the end

of Ms. Gibson-Carter’s career. Assisting the velocity of her fall were the numerous false

accusations against her by the RCC Board and the SCP, false statements to the press,

and racist behavior from Board members and community partners, a large majority of

whom are white. In fact, at least one Board member admitted that attack was ‘racial.’ In

support of the retaliation and conspiracy against Ms. Gibson-Carter as a result of her

statements, Board members released privileged and false information to the Savannah


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Morning News and other high-profile individuals, leading to false and defamatory

allegations, emotional distress, loss of income, humiliation, and other indignities.

       This was a collective conspiracy—instigated and led by the government--

against Ms. Gibson-Carter in retaliation for being an African American woman in a

position of power and for leveraging that position to engage her First Amendment

rights, speaking truth in order to educate the community about the realistic status of the

diligence surrounding the prosecution of sexual assault offenders. The ring leader was

Defendant Meg Heap, Chatman County District Attorney, who stepped out of her

prosecutorial role, to pressure other Defendants to collude in firing Ms. Gibson-Carter,

who was Ms. Heap’s public critic. If the Executive Director of the Rape Crisis Center is

not permitted to be the public voice for sexual assault victims, who is permitted to?

Who should be?

                             JURISDICTION AND VENUE

                                            1.

       Jurisdiction is proper under 28 U.S.C. § 1331 and 1343(a)(4), as well as under Title

VII of the Civil Rights Act of 1964 (42 U.S.C. § 2000e et seq), and pursuant to 42 U.S.C. §

1981, 42 U.S.C. § 1983, and 42 U.S.C. § 1985(3). This Court has jurisdiction to issue the

declaratory relief requested pursuant to the Declaratory Relief Act, 28 U.S.C. §§ 2201

and 2202. This Court may also grant injunctive relief pursuant to Rule 65 of the Federal

Rules of Civil Procedure. This Court has authority to award costs and attorneys’ fees

under 42 U.S.C. § 1988. Venue is proper under 28 U.S.C. § 1391(b) and L.R. 2.1(b)

because (1) a substantial part of the events and omissions giving rise to Ms. Gibson-


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Carter’s claims occurred within this District and Division and (2) Defendants reside and

transact business in this District and Division.

                          ADMINISTRATIVE PROCEEDINGS

                                             2.

       Ms. Gibson-Carter filed a Charge of Discrimination with the Equal Employment

Opportunity Commission on June 27, 2018 – within 180 days of the occurrence of the

discrimination and the RCC’s termination of her employment.

                                             3.

       Plaintiff received her Notice of Right to Sue on March 5, 2019 and instituted this

civil action in the appropriate federal district court within 90 days of the receipt of the

Notice of Right to Sue.

                                         PARTIES

                                             4.

       At all times relevant to this Complaint, Plaintiff Kesha Gibson-Carter was a

citizen of the United States and a resident of Georgia. Ms. Gibson-Carter worked as an

Executive Director for the Rape Crisis Center in Savannah, Georgia from 2013 until June

2018. At all times relevant to this Complaint, Ms. Gibson-Carter had clearly established

legal rights under state and federal law and the United States Constitution. Ms. Gibson-

Carter submits herself to the jurisdiction and venue of this Court and is entitled to bring

this action under state and federal law for all general, special, compensatory, punitive,

and any other permissible damages.




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                                             5.

       At all times relevant to this Complaint, Defendant Rape Crisis Center of the

Coastal Empire served Chatham, Bryan, Effingham, Liberty, Evans, Long and Tattnall

counties. The RCC is funded by the city of Savannah, Chatham County, United Way of

the Coastal Empire, and Georgia’s Criminal Justice Coordinating Council.

                                             6.

       At all times relevant to this Complaint, Defendant A. Blair Jeffcoat was a United

States Citizen, a Georgia resident, and Chief for the Bloomingdale Police Department.

At all times relevant, Jeffcoat was subject to the laws of the State of Georgia and the

Constitution of the United States. Mr. Jeffcoat is a Caucasian male, at a signature on the

January letter at issue in this Complaint.

                                             7.

       At all times relevant to this Complaint, Defendant Brett Lundy was a United

States Citizen, a Georgia resident, an Engineer at Thomas & Hutton, and a Board

Member of the RCC. At all times relevant, Lundy was subject to the laws of the State of

Georgia and the Constitution of the United States. Mr. Lundy is a Caucasian male.

                                             8.

       At all times relevant to this Complaint, Defendant Cheryl Branch was a United

States Citizen, a Georgia resident, and Executive Director of the SAFE Shelter, Center

for Domestic Violence. At all times relevant, Branch was subject to the laws of the State

of Georgia and the Constitution of the United States. Ms. Branch is a Caucasian female

and a signature on the January Letter at issue in this Complaint.


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                                            9.

        At all times relevant to this Complaint, Defendant Cheryl Rogers was a United

States Citizen, a Georgia resident, and Director of the Victim-Witness Assistance

Program. At all times relevant, Ms. Rogers was subject to the laws of the State of

Georgia and the Constitution of the United States. Ms. Rogers is a Caucasian female and

a signature on the January Letter at issue in this Complaint.

                                           10.

        At all times relevant to this Complaint, Defendant Deena Camacho was a United

States Citizen, a Georgia resident, a realtor at Southbridge Greater Savannah Reality,

and Board member of the RCC. At all times relevant, Camacho was subject to the laws

of the State of Georgia and the Constitution of the United States. Ms. Camacho is a

Caucasian female.

                                           11.

        At all times relevant to this Complaint, Defendant Joseph Hogan was a United

States Citizen, a Georgia resident, a Physician at Memorial University Medical Center,

and Board member of the RCC. At all times relevant, Hogan was subject to the laws of

the State of Georgia and the Constitution of the United States. Mr. Hogan is a Caucasian

male.

                                           12.

        At all times relevant to this Complaint, Defendant Gilbert Ballard was a United

States Citizen, a Georgia resident, and Chief for the Garden City Police Department. At

all times relevant, Ballard was subject to the laws of the State of Georgia and the


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Constitution of the United States. Mr. Ballard is a Caucasian male and a signature on

the January Letter at issue in this Complaint.

                                           13.

      At all times relevant to this Complaint, Defendant Heather Booth was a United

States Citizen, a Georgia resident, a realtor at Cora Bett Thomas, and Board member of

the RCC until late March 2018, when she resigned. At all times relevant, Booth was

subject to the laws of the State of Georgia and the Constitution of the United States. Ms.

Booth is a Caucasian female.

                                           14.

      At all times relevant to this Complaint, Defendant Joseph Lumpkin was a United

States Citizen, a Georgia resident, and Chief for the Savannah Chatham Metropolitan

Police Department. At all times relevant, Lumpkin was subject to the laws of the State

of Georgia and the Constitution of the United States. Mr. Lumpkin is an African

American male and a signature on the January Letter at issue in this Complaint.

                                           15.

      At all times relevant to this Complaint, Defendant Katie Joyner-Barber was a

United States Citizen, a Georgia resident, Agent at Rountree Brady Insurance, and

Board Member of the RCC. At all times relevant, Joyner-Barber was subject to the laws

of the State of Georgia and the Constitution of the United States. Ms. Joyner-Barber is a

Caucasian female.




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                                           16.

      At all times relevant to this Complaint, Defendant Kevin Shea was a United

States Citizen, a Georgia resident, Project Engineer at Advanced Flight Deck Programs

Gulfstream, and Board member of the RCC. At all times relevant, Shea was subject to

the laws of the State of Georgia and the Constitution of the United States. Mr. Shea is a

Caucasian male.

                                           17.

      At all times relevant to this Complaint, Defendant Kimberly Fritz-Tanner was a

United States Citizen, a Georgia resident, a Senior Director of Development and

Management at the United Way of the Coastal Empire, and Board member of the RCC.

At all times relevant, Fritz-Tanner was subject to the laws of the State of Georgia and

the Constitution of the United States. Ms. Fritz-Tanner is a Caucasian female.

                                           18.

      At all times relevant to this Complaint, Defendant Lynne Wolf was a United

States Citizen, a Georgia resident, a Regulatory Compliance Officer at Memorial

University Medical Center, and Board member of the RCC. At all times relevant, Wolf

was subject to the laws of the State of Georgia and the Constitution of the United States.

Ms. Wolf is a Caucasian female.




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                                             19.

       At all times relevant to this Complaint, Defendant Matt Libby was a United

States Citizen, a Georgia resident, and Chief for Port Wentworth Police Department. At

all times relevant, Libby was subject to the laws of the State of Georgia and the

Constitution of the United States. Mr. Libby is a Caucasian male and a signature on the

January Letter at issue in this Complaint.

                                             20.

       At all times relevant to this Complaint, Defendant Mark Revenew was a United

States Citizen, a Georgia resident, and Chief for Pooler Police Department. At all times

relevant, Revenew was subject to the laws of the State of Georgia and the Constitution

of the United States. Mr. Revenew is a Caucasian male and a signature on the January

Letter at issue in this Complaint.

                                             21.

       At all times relevant to this Complaint, Defendant Mary Roberts was a United

States Citizen, a Georgia resident, a Valuations and Transactions Advisor at Hancock

Askew Valuation Services, LLC and Board member of the RCC. At all times relevant,

Ms. Roberts was subject to the laws of the State of Georgia and the Constitution of the

United States.




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                                             22.

       At all times relevant to this Complaint, Defendant Meg Heap was a United States

Citizen, a Georgia resident, and District Attorney for the Eastern Judicial Circuit. At all

times relevant, Heap was subject to the laws of the State of Georgia and the

Constitution of the United States. Ms. Heap is a Caucasian female and a signature on

the January Letter at issue in this Complaint.

                                             23.

       At all times relevant to this Complaint, Defendant Mike Hughes was a United

States Citizen, a Georgia resident, an Engineer at Thomas & Hutton, and Board member

of the RCC. At all times relevant, Hughes was subject to the laws of the State of Georgia

and the Constitution of the United States. Mr. Hughes is a Caucasian male.

                                             24.

       At all times relevant to this Complaint, Defendant Pat Douglas was a United

States Citizen, a Georgia resident, a CPA at P.F. Douglas, LLC and Board member of the

RCC. At all times relevant, Douglas was subject to the laws of the State of Georgia and

the Constitution of the United States. Mr. Douglas is a Caucasian male.

                                             25.

       At all times relevant to this Complaint, Defendant Robert Bryson was a United

States Citizen, a Georgia resident, and Chief for Tybee Island Police Department. At all

times relevant, Bryson was subject to the laws of the State of Georgia and the

Constitution of the United States. Mr. Bryson is a Caucasian male and a signature on the

January Letter at issue in this Complaint.


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                                           26.

       At all times relevant to this Complaint, Defendant Rose Grant-Robinson was a

United States Citizen, a Georgia resident, and works for the Coastal-Children’s

Advocacy Center. At all times relevant, Grant-Robinson was subject to the laws of the

State of Georgia and the Constitution of the United States. Ms. Grant-Robinson is an

African American female and a signature on the January Letter at issue in this

Complaint.

                                           27.

       At all times relevant to this Complaint, Defendant Mark Merriman was a United

States Citizen, a Georgia resident, and Chief for the Thunderbolt Police Department. At

all times relevant, Merriman was subject to the laws of the State of Georgia and the

Constitution of the United States. Mr. Merriman is a Caucasian male and a signature on

the January Letter at issue in this Complaint.

                                           28.

       At all times relevant to this Complaint, Defendant Sandra Clark was a United

States Citizen, a Georgia resident, a retired Educator, and Board member of the RCC. At

all times relevant, Clark was subject to the laws of the State of Georgia and the

Constitution of the United States. Ms. Clark is an African American female.




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                                           29.

       At all times relevant to this Complaint, Defendant Wendy Furey was a United

States Citizen, a Georgia resident, and Special Assistant Attorney General for Chatham

Co. Department of Family and Children Services. At all times relevant, Ms. Furey was

subject to the laws of the State of Georgia and the Constitution of the United States. Ms.

Furey is a Caucasian female and a signature on the January Letter at issue in this

Complaint.

                                STATEMENT OF FACTS

   I. Savannah Community Partners send a letter to the RCC complaining of
   dissatisfaction

                                           30.

       At a December 2017 Savannah City Council meeting, Ms. Gibson-Carter publicly

expressed her concerns about deficiencies in the Chatham County District Attorney’s

Office and its law enforcement affiliates’ arrest, prosecution, and conviction rates of

sexual assault offenders; these statements invoked the RCC’s law enforcement and

community partners represented in this Complaint by Defendants Joseph Lumpkin,

Gilbert Ballard, Matt Libby, Robert Bryson, Cheryl Branch, Rose Grant-Robinson,

Robert Merriman, A. Blair Jeffcoat, Mark Revenew, Meg Heap, Wendy Furey, and

Cheryl Rogers.

                                           31.

       Defendant Joseph Lumpkin was present at the 2017 Savannah City Council

meeting in which Ms. Gibson-Carter spoke.



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                                          32.

       Upon information and belief, Defendant Lumpkin, along with Defendant Meg

Heap (District Attorney), decided that action needed to be taken against Ms. Carter for

exercising her First Amendment rights.

                                          33.

       After making her statements at said Savannah City Council meeting, Defendant

Meg Heap (District Attorney) sat down with Ms. Gibson-Carter and communicated that

she could be charged with a misdemeanor for neglecting to redact a child’s name from

an email when checking on the child’s welfare in August 2017 (4 months prior); this

issue was never brought up by Defendant Meg Heap until after Ms. Gibson-Carter

publicly stated her concerns about the deficiencies the Chatham County District

Attorney’s office.

                                          34.

       In an open meeting between Defendant RCC and law enforcement, Defendant

Meg Heap’s staff member, ADA Jenny Parker, publicly uttered the same sentiments

related to the alleged misdemeanor; this meeting was recorded without Ms. Gibson-

Carter’s knowledge.




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                                           35.

       In a later Savannah City Council meeting in December 2017, Ms. Gibson-Carter

publicly remarked that Defendant Meg Heap, ADA Jenny Parker, and the District

Attorney Office’s reaction to her comments at the last City Council meeting was

“workplace bullying at its finest.” Ms. Gibson-Carter publicly stated, “I won’t give up,

let up or stop or keep quiet.”

                                           36.

       All Savannah City Council meetings are live-streamed and can be accessed by

the public and news outlets at any time through Savannah Government Television.

                                           37.

       One month after Ms. Gibson-Carter’s public statements, in January 2018, a

collection of Savannah Community Partners (SCP) delivered a letter to the RCC Board

of Directors complaining that “important community relationships have become

unnecessarily strained and less than productive.”

                                           38.

       The letter from the SCP Defendants to the RCC Defendants complained of

dissatisfaction but did not provide specifics as to any of the perceived challenges or

suggestions on how to solve them; rather, the SCP requested time to speak with the

entire RCC Board.




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                                          39.

      The letter was signed by Savannah Community Partners and Defendants Joseph

Lumpkin, Chief, Savannah Chatham Metropolitan Police Department; Gilbert Ballard,

Chief, Garden City Police Department; Matt Libby, Chief, Port Wentworth Police

Department; Robert Bryson, Chief, Tybee Island Police Department; Cheryl Branch,

Executive Director of SAFE Shelter, Center for Domestic Violence; Rose Grant-

Robinson, Coastal Children’s Advocacy Center; Robert Merriman, Thunderbolt Police

Department; A. Blair Jeffcoat, Chief, Bloomingdale Police Department; Mark Revenew,

Chief, Pooler Police Department; Meg Heap, District Attorney of the Eastern Judicial

District; Wendy Furey, Special Assistant Attorney General of the Chatham Co.

Department of Family and Children’s Services; and Cheryl Rogers, Director of the

Victim-Witness Assistance Program. Out of these twelve individuals, ten are

Caucasian.

                                          40.

      Savannah-Chatham County Public School System Chief Terry Enoch and

Savannah State Police Chief James Barnwell were not asked to sign the SCP’s January

letter of concern, despite the fact that Ms. Gibson-Carter had more cases with the Board

of Education and Savannah State University than many of the law enforcement agencies

who signed the January letter; both Enoch and Barnwell are African American.




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                                           41.

       Prior to Ms. Gibson-Carter’s December 2017 statements at the two City Council

meetings, the SCP never collectively communicated any concerns about Ms. Gibson-

Carter to the RCC Board.

   II. Savannah Community Partners meet with the Board of the RCC and demand
   Ms. Gibson-Carter’s removal as Executive Director

                                           42.

       Pursuant to the meeting requested in the January letter, the SCP met with the

RCC Board in February 2018 and requested the removal of Ms. Gibson-Carter as the

Executive Director.

                                           43.

       Said meeting between the RCC Board and the SCP was hosted at Thomas &

Hutton Engineering.

                                           44.

       Thomas & Hutton Engineering is a firm in Savannah heavily supported by the

Mayor in Savannah and Alderwoman Carol Bell.

                                           45.

       Upon information and belief, the Mayor and Alderwoman Carol Bell had a

vested interested in silencing Ms. Gibson-Carter because of her public statements on

deficiencies in the state of Georgia’s and the City of Savannah’s arrest, prosecution, and

conviction rates of sexual assault offenders.




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                                          46.

      Two members of the RCC Board, Mike Hughes and Brett Lundy, work for

Thomas & Hutton, the firm heavily supported by the Mayor and Alderwoman Carol

Bell who, upon information and belief, had a vested interested in silencing Ms. Gibson-

Carter.

                                          47.

      Alderwomen Carol Bell attends church with the Dorris Williams, the woman

who replaced Ms. Gibson-Carter as Executive Director upon her termination.

                                          48.

      At said meeting between RCC Board members and the SCP, the SCP provided

additional context to their letter by presenting the Board with a binder containing 25+

issues dating back to 2013 and a recording of a phone call between Sergeant Emily

Manual and Ms. Gibson-Carter. Ms. Gibson-Carter was not informed that the phone call

was being recorded and Ms. Manual can be heard being particularly antagonistic.

                                          49.

      Included in said binder was the allegation that Ms. Gibson-Carter altered the

SART Sexual Assault Protocol to dictate that Sexual Assault Nurse Examiners (SANEs)

would perform sexual assault examinations on prepubescent victims.

                                          50.

      Said protocol change happened in December 2016, one year before Ms. Gibson-

Carter’s statements and the SCP’s January 2017 letter of concern.




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                                          51.

       Prior to the SCP coming forward with their complaints against Ms. Gibson-

Carter, at least one Board member, Defendant Jeff Hogan, was fully aware of the

changes in SART’s Sexual Assault Protocol; as a physician at Memorial University

Medical Center, Mr. Hogan supported and encouraged Ms. Gibson-Carter and the

changes in protocol, attending meetings with his staff and colleagues from the

Emergency Department to discuss and establish protocol for said updates.

                                          52.

       Despite the demonstrably false allegations that Ms. Gibson-Carter “unilaterally”

changed the protocol, it is true that 1) SANEs were already performing examinations of

prepubescent victims prior to Ms. Gibson-Carter’s recommendations for revision to the

protocol 2) Ms. Gibson-Carter proposed a revision during the comment period for the

2017 SART protocol, 3) these changes had already been proposed by other individuals

including Sergeant Tiffany Manual of Savannah Metro and RCC SANE’s and Victim

Advocate Laura Weatherly and 4) the very protocol she was accused of changing was

reinstituted after her termination.

                                          53.

       Prior to the SCP coming forward with their complaints against Ms. Gibson-

Carter, the Board never admonished Ms. Gibson-Carter for her suggestions of revising

the SART’s Sexual Assault Protocol.




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                                          54.

      Included in the binder of complaints about Ms. Gibson-Carter was an issue with

an RCC employee’s interview with a victim, in which the employee was accused of

making disparaging comments against SVU Detectives; Defendant Lumpkin brought

this issue to Ms. Gibson-Carter’s attention via email on December 8, 2017, just before

her appearance at the City Council meeting.

                                          55.

      Ms. Gibson-Carter met with the employee at issue in paragraph 53 to inquire

about what happened and spoke with the victim, who stated that the RCC employee

did nothing wrong and that had it not been for her, the victim would not have made it

through the interview. Unbeknown to Ms. Gibson-Carter, this meeting was recorded.

                                          56.

      Upon information and belief, Defendants Lumpkin and Meg Heap wanted the

employee fired to make an example out of her and were upset by Ms. Gibson-Carter’s

insistence on handling the matter differently.

                                          57.

      Upon information and belief, Defendants Lumpkin and Heap attempted to make

what should have been an internal personnel matter to be handled at Ms. Gibson-

Carter’s discretion a matter relevant to the DA’s Office and the entire law enforcement

agencies affiliated with the RCC.




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                                           58.

       To this day, the employee referenced in paragraphs 53-57 is employed by RCC;

she was never terminated for her actions or for the alleged disparaging remarks against

law enforcement.

                                           59.

       The RCC Board was aware of the events with the employee in question in

paragraph 53-58 and did not admonish or notify Ms. Gibson-Carter’s of any

wrongdoing in Ms. Gibson-Carter’s handling of the situation prior to the SCP’s letter;

rather the RCC Board supported Ms. Gibson-Carter’s actions.

                                           60.

       Included in the binder of complaints against Ms. Gibson-Carter was an allegation

that she breached client confidentiality by leaving a child’s last name in the subject line

of an email sent to DCFS, Alderman Van Johnson, and Commissioner Tabitha Odell on

August 25, 2017. The family’s identity was never made public.

                                           61.

       Defendant Lumpkin responded to and forwarded the same email with the child’s

last name in the subject line.

                                           62.

       On October 5, 2017, in a letter to Assistant District Attorney Greg McConnell, Ms.

Gibson-Carter acknowledged and took responsibility for the administrative oversight of

neglecting to redact a child’s name in an email when urgently checking on their welfare.




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                                          63.

       Though Ms. Gibson-Carter addressed this issue of not redacting a child’s name

in a letter to ADA McConnell in October 2017, Defendant Meg Heap brought it up

again in December 2017, directly emphasizing that Ms. Gibson-Carter that could be

charged with a misdemeanor after Ms. Gibson-Carter publicly spoke out against the

District Attorney’s office.

                                          64.

       The allegation that Ms. Gibson-Carter had breached confidentiality was known

to at least one RCC Board member, Defendant Joseph Hogan, prior to the SCP’s January

letter; nothing was said to Ms. Gibson-Carter by the Board and no action was taken

against Ms. Gibson-Carter by the RCC Board prior to her public statements in

December 2017.

                                          65.

       Included in this binder was the allegation that Ms. Gibson-Carter was

responsible for the RCC’s non-compliance with CJCC Standards; CJCC conducts yearly

site visits to determine compliance and RCC’s 2017 review was positive. The 2018

review also showed compliance and was only released after she was terminated. There

is no documented citation from CJCC.

                                          66.

       In situations where CJCC Victims Assistance Unit finds non-compliance, there is

a path of corrective action taken that does not include terminating an individual in the

rank of Executive Director from their position.


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                                           67.

       At the February 2018 meeting between the RCC and SCP after Ms. Gibson-Carter

made public statements criticizing the District Attorney’s Office, Assistant District

Attorney Lindretta Grindle Kramer, a Caucasian female, was especially vocal in her call

for removal of Ms. Gibson-Carter.

                                           68.

       At the February 2018 meeting between the RCC and SCP after Ms. Gibson-Carter

made public statements criticizing the District Attorney’s Office, Special Assistant

Attorney General for the Division of Family and Children’s Services Defendant Wendy

Furey a Caucasian female, was especially vocal in her call for removal of Ms. Gibson-

Carter.

                                           69.

       At the February 2018 meeting between the RCC and SCP after Ms. Gibson-Carter

made public statements criticizing the District Attorney’s Office, Savannah Police

Department Assistant Chief Defendant Robert Gavin, a Caucasian male, was especially

vocal in his call for removal of Ms. Gibson-Carter.

                                           70.

       At the February 2018 meeting between the RCC and SCP after Ms. Gibson-Carter

made public statements criticizing the District Attorney’s Office, Assistant Chief Gavin

told the RCC Board that the Savannah Police Department was in the process of

pursuing grants to bring some of the RCC services in-house, effectively cutting RCC off

from majority of the victims it currently serves.


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                                          71.

      Ms. Gibson-Carter was told by Board member and Defendant Katie Joyner that

the allegations presented in the February 2018 meeting all came from Caucasian

individuals.

                                          72.

      Ms. Gibson-Carter was told by Board member and Defendant Sandra Clark that

she felt like the February 2018 meeting was racially motivated.

                                          73.

      Ms. Gibson-Carter was told by Board member and Defendant Sandra Clark that

Ms. Clark was the only African American in the room and that after the meeting with

the SCP, Defendant and Board member Pat Douglas was exceptionally critical of Ms.

Gibson-Carter and wanted to have the Board vote for her termination that evening.

                                          74.

      Not present at the February 2018 meeting was Devon Adams, an African

American Sergeant over the Special Victims Unit at Savannah Metro.

                                          75.

      Ms. Gibson-Carter requested to be permitted to attend said February 2018

meeting; her request was denied.

                                          76.

      The binder provided by the SCP to the RCC, containing the SCPs concerns about

Ms. Gibson-Carter, was disclosed to the media and subject to a front-page article in the

Savannah Morning News on March 23, 2018.


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                                          77.

      The Savannah Morning News article about Ms. Gibson-Carter was written by Jan

Skutch, a Caucasian male, who had previously offered disparaging remarks in District

Attorney and Defendant Meg Heap’s office about Ms. Gibson-Carter in front of other

individuals.

                                          78.

      On or about March 27, 2018, 4 days after the Savannah Morning news article,

Board president and Defendant Heather Booth resigned for breaching attorney-client

privilege in leaking the SCP’s concerns to the news media.

                                          79.

      Defendant Heather Booth recommended the Abshire Public Relations Firm and

Jennifer Abshire to the Board of Directors of the RCC to handle damage control due to

the public outcry in support of Ms. Gibson-Carter.

                                          80.

      Abshire Public Relations firm coordinated a news article written by Jan Skutch

that featured Defendant Heather Booth as the person who identified and facilitated the

purchase of a new facility for the RCC and, upon information and belief, intentionally

omitted Ms. Gibson-Carter though she played a major role in securing the building.

                                          81.

      Jennifer Abshire served on the Board of Directors for the SAFE Shelter, where

Defendant Cheryl Branch is employed.




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                                          82.

      Board member Defendant Pat Douglas admitted, at a Board meeting, that he

spoke to the public about private and confidential issues regarding the SCP’s concerns,

and that he gave documentation to Assistant District Attorney Lindretta Grindle

Kramer; he has not been asked to leave his position as a Board member.

                                          83.

      Upon information and belief, Defendants Mike Hughes and Brett Lundy

communicated with and gave private and confidential documentation regarding the

SCP’s concerns to Alderwomen Carol Bell; neither of these individuals have been asked

to leave their positions as Board members.

                                          84.

      In late February 2018, Ms. Gibson-Carter met with Defendants who sat on the

RCC Board to refute or accept and take responsibility for the claims made against her

by the SCP.

                                          85.

      Ms. Gibson-Carter also submitted to the Defendants who sat on the RCC Board,

in writing, a rebuttal and accompanying support to all claims made against her.

                                          86.

      In response to Ms. Gibson-Carter’s rebuttals to the claims alleged by the SCP, the

Defendants who sat on the RCC Board asked Ms. Gibson-Carter why the community

partners were coming forward now about alleged issues dating back to 2013. Ms.

Gibson-Carter responded that it was her belief that the SCP’s actions were racially


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motivated and in retaliation for her speaking out in public City Council meetings about

deficiencies in the investigation of sex crimes and the arrests and prosecution of sexual

assault offenders—deficiencies that all bore directly on the job performances of the

Defendants who signed the letter in this case.

   III. Prior to the SCP’s letter, Ms. Gibson-Carter was a vocal advocate for rape
   victims without reprimand and with the support of the SCP

                                           87.

              Prior to the SCP’s letter of concern, RCC was fully aware that Ms. Gibson-

Carter engaged in advocacy, speaking out on behalf of trauma victims on various

platforms.

                                           88.

       Engaging in advocacy was a component of Ms. Gibson-Carter’s job as Executive

Director of the RCC.

                                           89.

       The RCC’s job description for the position of Executive Director includes the

following roles: “act as an official spokesperson for the Rape Crisis Center with all

media;” “oversee development of public relations materials and public service

announcements,” and “participate in public speaking presentations and public service

announcements.”




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                                           90.

      The Board members were aware of Ms. Gibson-Carter’s statements at the

Council meeting in December 2017; the RCC never admonished Ms. Gibson-Carter for

speaking out prior to the SCP’s January 2018 letter and their February 2018 meeting

with the RCC Board.

                                           91.

      Prior to the SCP’s letter and demand for removal of Ms. Gibson-Carter, she was

never reprimanded by the Board, asked to change behavior by the Board, or offered

corrective action by the Board as a result of any public statements.

                                           92.

      In September 2015, Ms. Gibson-Carter’s comments about backlogged rape kits in

Georgia were made public in a WTOC article; the Board was aware of these reports and

never admonished Ms. Gibson-Carter for making a statement.

                                           93.

      In March 2016, Ms. Gibson-Carter’s comments about the Pursuing Justice for

Rape Victims Act were made public in a WTOC article; the Board was aware of these

reports and never admonished Ms. Gibson-Carter for making a statement.

                                           94.

      In August 2016, Ms. Gibson-Carter’s comments about the backlogged rape kits

were made public in a WTOC article; the Board was aware of these reports and never

admonished Ms. Gibson-Carter for making a statement.




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                                            95.

       In February 2017, Ms. Gibson-Carter’s comments about fighting misogyny and

rape culture were made public in a Connect Savannah article; the Board was aware of

these reports and never admonished Ms. Gibson-Carter for making a statement.

                                            96.

       In March 2017, Ms. Gibson-Carter’s comments about RCC’s efforts to raise

awareness and stop sexual violence were made public in a WTOC article; the Board was

aware of these reports and never admonished Ms. Gibson-Carter for making a

statement.

                                            97.

       On or about February 15, 2017, Defendants Meg Heap, Cheryl Branch, Rose

Grant-Robinson, and Joseph Lumpkin signed a Memorandum of Understanding

between the Rape Crisis Center, the Office of the District Attorney, Eastern Judicial

District, Savannah Chatham Metropolitan Police Department, SAFE, and the Coastal

Children’s Advocacy Center, pledging that each agency would take on various

responsibilities to effectively serve victims of sexual assault and related crimes. Ms.

Gibson-Carter also signed this Memorandum.

                                            98.

       In the subject Memorandum of Understanding, under Role & Responsibilities,

the Rape Crisis Center of the Coastal Empire agrees to “educate the community about

sexual assault prevention,” which includes informing the community about the status

of timely action, or the lack thereof, against sexual assault offenders.


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   IV. The RCC hires an external investigator, who finds no instances of misconduct
   that would warrant the removal of Ms. Gibson-Carter

                                          99.

      After the January 2018 letter and the February 2018 meeting between the RCC

and the SCP, Defendant RCC retained the law firm of Butler Rikard Mersereau LLP to

perform an independent, external review in light of the issues raised by the community

partners and agencies and to prepare a detailed review and evaluation plan designed to

help the RCC identify issues and best addressed the perceived concerns.

                                         100.

      The final report of the investigation drafted by B. Davis Butler. Esq. was sent on

April 3, 2018, with several conclusions and recommendations to the RCC.

                                         101.

      In the email sent on April 3, 2018, containing the final report, Mr. Butler wrote:

“We like Kesha and think she has done a very good job on behalf of victims. The

community partners gave us no choice but to recommend that her employment be

terminated.”

                                         102.

      The report found that Ms. Gibson-Carter was “completely gracious, bright, kind,

and passionate about the victims she and RCC have served so well. She is clearly loved

by many victims who have been supported extremely well by the RCC under her

leadership.”




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                                           103.

       According to the report, out of the ten victims of different ages, races, and

backgrounds that Butler interviewed in conducting the investigation for their report, all

of them, plus numerous others who reached out to Butler via email, expressed strong

support for Ms. Gibson-Carter and the people who work at the RCC.

                                           104.

       The report did not identify any instances of misconduct that would warrant

removal of Ms. Gibson-Carter.

   V. The RCC’s external investigator finds significant problems with the behavior
   of the Defendants on the RCC Board and the SCP

                                           105.

       Though the report did not identify misconduct by Ms. Gibson-Carter, the report

did identify “significant problems with the behavior of the community partners”, noting

that “none of the community partner representatives wanted to meet with [Butler]

individually and confidentially, as requested; instead, they asked to meet collectively”;

the collective meeting between Butler and the SCPs was held on March 23, 2018.

                                           106.

       About the meeting on March 28, 2018, Butler wrote in his final report: “I was

particularly frustrated with the treatment of Ray Smith, an African-American human

resources expert that I had retained to help us on this project. Several officials were

overtly dismissive of Ray and simply rude to both of us even though we were at the




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meeting to try and help solve challenges. One senior official would not shake Ray’s

hand and completely ignored us.”

                                           107.

       According to Butler’s final report, Defendant RCC and the Defendant Board

members did not provide clear guidance and boundaries to Ms. Gibson-Carter

regarding the level of “advocacy” she was permitted to engage in.

                                           108.

       According to Butler’s final report, “we do not believe that the current Executive

Director was given proper detailed guidance from the Board.”

                                           109.

       In his final report, Mr. Butler shared with the Board that he believed “there could

possibly be a racial element involved in the challenges the RCC is facing.”

                                           110.

       In April 2018, four months after the January letter was sent and in the same

month as Butler’s investigation found no misconduct by Ms. Gibson-Carter, RCC Board

member and Defendant Kevin Shea drafted a letter to the Savannah Police Department

on behalf of the RCC which said that the pressure from community partners left it

“with no option than to replace the current Executive Director.”

                                           111.

       The letter drafted by Defendant Kevin Shea stated: “Prior to taking the drastic

step of replacing the RCC Executive Director, the Board would like to confirm that this

is indeed the only option being made available to it, and that it is still the intent of the


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Savannah Police Department to bring advocacy and/or SANE services in-house to

replace the RCC for cases worked by SPD.”

                                           112.

       The letter drafted by Defendant Kevin Shea stated: “We kindly request a

response within 21 calendar days of receipt of this letter. Please note that a lack of

response will be taken by the Board to mean that you continue to require the

termination of the RCC Executive Director in order to ensure the survival of the RCC in

its present state…”

   VI. Despite the official investigator finding no misconduct by Ms. Gibson-Carter,
         she is terminated as Executive Director and is not provided a reason

                                           113.

       Six months after the initial letter was sent by the RCC, Ms. Gibson-Carter was

asked to resign; Ms. Gibson-Carter did not wish to resign.

                                           114.

       Defendant RCC fired Ms. Gibson-Carter on June 5, 2018.

                                           115.

       Though she asked repeatedly, Ms. Gibson-Carter was not given a reason for her

termination by the Board members.

                                           116.

       Upon information and belief, the Defendant RCC and the Defendant Board

members terminated Ms. Gibbons-Carter because it feared retaliation from community

partners.



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   VII.    Ms. Gibson-Carter’s stellar performance as Executive Director was
          affirmed by the Board in August 2017, just 5 months before the SCP’s letter
          of concern

                                           117.

      Before the SCP’s request to remove Ms. Gibson-Carter from her position, there

was no indication from any Board members that Ms. Gibson-Carter’s position as the

Executive Director was at risk.

                                           118.

      Ms. Gibson-Carter’s performance review for the year 2016 was completed on

August 1, 2017 and conducted by Board members and Defendants Katie Joyner,

Kimberly Fitz-Tanner, and Kevin Shea; the report is overwhelmingly positive, and she

received a significant increase in her salary around this time. Ms. Gibson-Carter made

the subject public statements just four months after this overwhelmingly positive

review and salary increase by the Board.

                                           119.

      In said performance review conducted in August 2017, the Board members

wrote, “Kesha has done an outstanding job leading the Rape Crisis Center of the

Coastal Empire into a new era of advocacy, fundraising, and awareness.” They go on to

write that her efforts “demonstrate the rare balance of our Prevention & Advocacy

mission…Furthermore, Kesha deserves particular accolades this year for the attention

and respect the organization has earned with regard to local, state, and federal policy

surrounding the timely processing of rape kits.”




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                                           120.

       In said performance review conducted in August 2017, the Board members wrote

that community leadership “has been, and remains, one of Kesha’s strongest – and most

critical – assets as an organizational leader. She is consistently a champion for the

mission, victims, and impact of the organization’s work. She is respected by peers,

funders, victims, and partners alike. Because of this work more arrests have been made,

more kits have been processed, and more victims have found help.”

                                           121.

       In said performance review conducted in August 2017, the Board members

wrote, “Kesha has been innovative in her community leadership and willingness to use

public forums and/or speaking engagements to turn by-standers into allies and

adversaries into advocates.”

                                           122.

       In said performance review conducted in August 2017, the Board members

wrote, “Kesha maintains a strong relationship will all funders…this is most visible in

the community trust she has sustained and earned for the organization.”

                                           123.

       In said performance review conducted in August 2017, the Board members

wrote, “The board has experienced a positive evolution in the last year in large part

thanks to Kesha’s leadership and willingness to address board development needs.”




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                                          124.

       In said performance review conducted in August 2017, the Board members

wrote, “We’re confident in the quality of leadership and organizational growth we’ve

seen this year from the Executive Director, and plan to be more involved in setting

mutual goals with the Executive Director and the Board in the year ahead.”

                                          125.

       In said performance review conducted in August 2017, the Board members

wrote, “Public community leadership should not be the job solely of the executive

director. The Board acknowledges that this degree of focus has a toll on working

relationships and pledges to work more closely with the Director in the year ahead so

that the Director is not the only RCC voice for victims of rape, sexual assault, and sexual

violence in our community.”

                                          126.

       Performance deficiencies did not guide Defendant RCC’s decision-making, as

evidenced by, inter alia, the conclusions in her performance review, Butler’s Report

finding no circumstances of wrongdoing by Ms. Gibson-Carter, and both Butler and

RCC’s statements about being essentially forced to recommend termination and

terminate, respectively, Ms. Gibson-Carter.




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   VIII. Acknowledgements from Board Members and Savannah Community
         Partners

                                         127.

      Prior to signing the January Letter at issue in this Complaint, Defendant Joseph

Lumpkin did not have a reasonable justification for requiring the removal of Ms.

Gibson-Carter from her role as Executive Director.

                                         128.

      Upon information and belief, Defendant Joseph Lumpkin signed the letter of

concern on his last day of work for the Savannah Chatham Metropolitan Police

Department.

                                         129.

      Prior to signing the January Letter at issue in this Complaint, Defendant Gilbert

Ballard did not have a reasonable justification for requiring the removal of Ms. Gibson-

Carter from her role as Executive Director.

                                         130.

      Upon information and belief, Ms. Gibson-Carter and Defendant Gilbert Ballard

have never directly communicated with one another.

                                         131.

      In an email exchange on February 3rd, 2018, Defendant Gilbert Ballard wrote:

“our concern was due to other concerns, and we have not had a Garden Police

Department and Rape Crisis specific issue”; significantly, although there were no




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specific complaint or concern with Ms. Gibson-Carter or the RCC that directly involved

any of the Garden City Police Department’s cases, Defendant Ballard signed the letter.

                                         132.

      Prior to signing the January Letter at issue in this Complaint, Defendant Matt

Libby did not have a reasonable justification for requiring the removal of Ms. Gibson-

Carter from her role as Executive Director.

                                         133.

      Upon information and belief, Ms. Gibson-Carter and Defendant Matt Libby have

never directly communicated with one another.

                                         134.

      Prior to signing the January Letter at issue in this Complaint, Defendant Robert

Bryson did not have a reasonable justification for requiring the removal of Ms. Gibson-

Carter from her role as Executive Director.

                                         135.

      Defendant Robert Bryson and Ms. Gibson-Carter had a cordial working

relationship; Defendant Bryson told Ms. Gibson-Carter that the letter was sent to him

by Defendant and District Attorney Meg Heap, and that he did not even read it prior to

signing.

                                         136.

      Prior to signing the January Letter at issue in this Complaint, Defendant Cheryl

Branch did not have a reasonable justification for requiring the removal of Ms. Gibson-

Carter from her role as Executive Director.


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                                          137.

       When asked by her Board Chair to address her reason behind signing the

January letter of concern, Defendant Cheryl Rogers was unable to articulate a valid

reason, as she had no issues with the RCC or Ms. Gibson-Carter. As a result, Attorney

Shelena Cook-Jones submitted a letter to RCC Board President and Defendant Heather

Booth, indicating that she asked Cheryl Branch to cease participation in the efforts of

the SCP to remove Ms. Gibson-Carter from the Executive Director position.

                                          138.

       Prior to signing the January Letter at issue in this Complaint, Defendant Rose

Grant-Robinson did not have a reasonable justification for requiring the removal of Ms.

Gibson-Carter from her role as Executive Director.

                                          139.

       Defendant Rose Grant-Robinson of the Coastal Children’s Advocacy Center

called Ms. Gibson-Carter prior to signing the letter, to inform her that it was being

circulated, and said that she was forced to sign it by at least one Board member, and

that Ms. Gibson-Carter was being “rail-roaded.”

                                          140.

       Prior to signing the January Letter at issue in this Complaint, Defendant Robert

Merriman did not have a reasonable justification for requiring the removal of Ms.

Gibson-Carter from her role as Executive Director.




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                                         141.

      Upon information and belief, Ms. Gibson-Carter and Defendant Robert

Merriman have never directly communicated with one another and there has never

been an issue between Thunderbolt Police Department concerning the RCC or Ms.

Gibson-Carter.

                                         142.

      Upon information and belief, Defendant Merriman was either leaving for or

returning from medical leave at the time he signed the January Letter.

                                         143.

      Prior to signing the January Letter at issue in this Complaint, Defendant A. Blair

Jeffcoat did not have a reasonable justification for requiring the removal of Ms. Gibson-

Carter from her role as Executive Director.

                                         144.

      Upon information and belief, Ms. Gibson-Carter and Defendant Jeffcoat have

never directly communicated with one another.

                                         145.

      Prior to signing the January Letter at issue in this Complaint, Defendant Mark

Revenew did not have a reasonable justification for requiring the removal of Ms.

Gibson-Carter in order to continue a relationship with the RCC.




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                                         146.

       In December 2017, Ms. Gibson-Carter encountered Defendant Revenew at the

Savannah Chatham Day event. Defendant Revenew commented that “the whole thing

doesn’t make sense” and that he felt any challenges could be worked through.

                                         147.

       After signing the January Letter, Defendant Revenew and Ms. Gibson-Carter had

a working relationship. Defendant Revenew acknowledged that the action initiated by

the letter was a “turf-war.”

                                         148.

       Prior to signing the January Letter at issue in this Complaint, Defendant Meg

Heap did not have a reasonable justification for requiring the removal of Ms. Gibson-

Carter from her role as Executive Director.

                                         149.

       Defendant Meg Heap had often commended Ms. Gibson-Carter for helping her

garner “black votes” during the 2012 election.

                                         150.

       Prior to signing the January Letter at issue in this Complaint, Defendant Wendy

Furey did not have a reasonable justification for requiring the removal of Ms. Gibson-

Carter from her role as Executive Director.




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                                         151.

      Prior to signing the subject January Letter at issue in this Complaint, Defendant

Cheryl Rogers did not have a reasonable justification for requiring the removal of Ms.

Gibson-Carter in order to continue a relationship with the RCC.

                                         152.

      Defendant Cheryl Rogers and Ms. Gibson-Carter were former colleagues; never

once did Ms. Rogers correspond or address any issues about Ms. Gibson-Carter’s

performance with Ms. Gibson-Carter.

                                         153.

      Prior to the SCP’s demand for Ms. Gibson-Carter’s removal in the January letter

and February meeting at issue in this Complaint, Defendant and Board member

Heather Booth had no reason to question Ms. Gibson-Carter’s position as Executive

Director.

                                         154.

      Prior to the SCP’s demand for Ms. Gibson-Carter’s removal in the January letter

and February meeting at issue in this Complaint, Defendant and Board member Deena

Camacho had no reason to question Ms. Gibson-Carter’s position as Executive Director.

                                         155.

      Prior to the SCP’s demand for Ms. Gibson-Carter’s removal in the January letter

and February meeting at issue in this Complaint, Defendant and Board member Sandra

Clark had no reason to question Ms. Gibson-Carter’s position as Executive Director.




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                                        156.

      Prior to the SCP’s demand for Ms. Gibson-Carter’s removal in the January letter

and February meeting at issue in this Complaint, Defendant and Board member Pat

Douglas had no reason to question Ms. Gibson-Carter’s position as Executive Director.

                                        157.

      Prior to the SCP’s demand for Ms. Gibson-Carter’s removal in the January letter

and February meeting at issue in this Complaint, Defendant and Board member

Kimberly Fritz-Tanner had no reason to question Ms. Gibson-Carter’s position as

Executive Director.

                                        158.

      Prior to the SCP’s demand for Ms. Gibson-Carter’s removal in the January letter

and February meeting at issue in this Complaint, Defendant and Board member Joseph

Hogan had no reason to question Ms. Gibson-Carter’s position as Executive Director.

                                        159.

      Prior to the SCP’s demand for Ms. Gibson-Carter’s removal in the January letter

and February meeting at issue in this Complaint, Defendant and Board member Mike

Hughes had no reason to question Ms. Gibson-Carter’s position as Executive Director.

                                        160.

      Prior to the SCP’s demand for Ms. Gibson-Carter’s removal in the January letter

and February meeting at issue in this Complaint, Defendant and Board member Katie

Joyner-Barber had no reason to question Ms. Gibson-Carter’s position as Executive

Director.


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                                        161.

      Prior to the SCP’s demand for Ms. Gibson-Carter’s removal in the January letter

and February meeting at issue in this Complaint, Defendant and Board member Brett

Lundy had no reason to question Ms. Gibson-Carter’s position as Executive Director.

                                        162.

      Prior to the SCP’s demand for Ms. Gibson-Carter’s removal in the January letter

and February meeting at issue in this Complaint, Defendant and Board member Mary

Roberts had no reason to question Ms. Gibson-Carter’s position as Executive Director.

                                        163.

      Prior to the SCP’s demand for Ms. Gibson-Carter’s removal in the January letter

and February meeting at issue in this Complaint, Defendant and Board member Kevin

Shea had no reason to question Ms. Gibson-Carter’s position as Executive Director.

                                        164.

      Prior to the SCP’s demand for Ms. Gibson-Carter’s removal in the January letter

and February meeting at issue in this Complaint, Defendant and Board member Lynne

Wolf had no reason to question Ms. Gibson-Carter’s position as Executive Director.

   IX. Racially discriminatory animus against Ms. Gibson-Carter is shown by both
          Board members and the SCP

                                        165.

      Prior to her termination, Board members identified race as the primary

motivation of the community partners wanting Ms. Gibson-Carter to be removed from

her position as Executive Director.



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                                         166.

       On January 23, 2018, Defendant and Board member Katie Joyner, a Caucasian

female, told Ms. Gibson-Carter that she received the letter from the community partners

and said, “it’s racial.”

                                         167.

       After receiving the letter from the SCP, Defendant Joyner recommended that Ms.

Gibson-Carter hire a Caucasian female assistant to smooth over the differences with the

community partners.

                                         168.

       Defendant and Board member Mr. Michael Hughes, a Caucasian male, asked

what “color” attorney the Board retained to investigate the allegations against Ms.

Gibson-Carter.

                                         169.

       Defendant and Board member Pat Douglas, a Caucasian male, said that “cultural

differences” were the reason for issues with Ms. Gibson-Carter.

                                         170.

       Again, Butler wrote, in his report about his meeting with the community

partners: “I was particularly frustrated with the treatment of Ray Smith, an African-

American human resources expert that I had retained to help us on this project. Several

officials were overtly dismissive of Ray and simply rude to both of us even though we

were at the meeting to try and help solve challenges. One senior official would not

shake Ray’s hand and completely ignored us.”


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                                          171.

       All the SCPs who signed the letter, except for one, Defendant Rose Grant-

Robinson, are Caucasian.

                                          172.

       Defendant Rose Grant-Robinson, the only African American community partner,

told Ms. Gibson-Carter that she felt pressured into signing the letter of concern.

                                          173.

       All RCC Board members, except for one Defendant Sandra Clarke, are

Caucasian.

                                          174.

       Although Defendant Sandra Clarke voted for the removal of Ms. Gibson-Carter,

she told Ms. Gibson-Carter that she did not feel that she was presented with all the

information and that if she had been, she may have voted otherwise.

                                          175.

       Defendant Sandra Clarke is the only African American Board member; she is

also the only Board member not interviewed by the RCC’s attorney in order to provide

feedback on her thoughts and considerations regarding whether to terminate Ms.

Gibson-Carter.




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                                    COUNT I
                          RACIAL DISCRIMINATION
                 IN VIOLATION OF TITLE VII, 42 U.S.C. 2000 et seq
                         (Against the Rape Crisis Center)

                                           176.

       Plaintiff now fully incorporates the facts and assertions found in paragraphs 1-

175, with emphasis on paragraphs 165-175, and any other facts this Court deems

relevant, as if fully stated herein to support all allegations made in this Count.

                                           177.

       Ms. Gibson-Carter is African American, a protected class, and was terminated by

Defendants at least in part because of her race. To the extent that Defendants claim an

alternative basis for the termination of Ms. Gibson-Carter, this is a mixed-motive case

and Ms. Carter solely has to prove that her termination was motivated in some part

based on her race. Also, when Defendant Board members claim that race played a role

regarding the attack on Ms. Gibson-Carter that led to her termination, she should be

granted discovery to explore that issue.

                                           178.

       Ms. Gibson-Carter is qualified for the position from which she was terminated.

                                           179.

       Of the 25 Board members and community partners, only 2 are African American;

the rest are Caucasian. Through the course of events at issue in this Complaint,

Defendant RCC displayed a discriminatory animus towards Ms. Gibson-Carter based

on her race, based on the facts and assertions incorporated into this Count.




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                                           180.

       Based on the incorporated facts to support this Count, prior to her termination,

Board members identified race as the primary motivation of the community partners

wanting Ms. Gibson-Carter to be removed from her position as Executive Director.

                                           181.

       Ms. Gibson-Carter is entitled to an award of back pay and benefits,

compensatory damages, attorney’s fees, and all other appropriate damages, remedies,

and other relief available under Title VII and federal statutes providing remedies for

violation of Title VII.

                                     COUNT II
                             RACIAL DISCRIMINATION
                          IN VIOLATION OF 42 U.S.C. § 1981
                               (Against all Defendants)

                                           182.

       Plaintiff now fully incorporates the facts and assertions found in paragraphs

 1-175, as if fully stated herein to support all allegations made in this Count.

                                           183.

       Ms. Gibson-Carter is African American, a protected class, and was terminated by

Defendants in part because of her race.

                                           184.

       Based on the incorporated facts to support this Count, the Defendants named in

this Count discriminated upon Ms. Gibson-Carter based on her race. Also, when

Defendant Board members claim that race played a role regarding the attack on Ms.




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Gibson-Carter that led to her termination, she should be granted discovery to explore

that issue.

                                          185.

              Ms. Gibson-Carter is entitled to an award of back pay and benefits,

compensatory damages, attorney’s fees, and all other appropriate damages, remedies,

and other relief available under Title VII and federal statutes providing remedies for

violation of Title VII.

                                  COUNT III
              CONSPIRACY TO VIOLATE A CONSTITUTIONAL RIGHT
                       IN VIOLATION OF 42 U.S.C § 1983
                            (Against All Defendants)

                                          186.

       Plaintiff now fully incorporates the facts and assertions found in paragraphs

1-175 and any other facts this Court deems relevant, as if fully stated herein to support

all allegations made in this Count.

                                          187.

       At all times relevant to this Complaint, Ms. Gibson-Carter had a right to be free

from violations and deprivations of the constitutional rights secured by the law.

                                          188.

       Based on the facts incorporated into this Count and the allegations within this

Count, Defendants conspired against Ms. Gibson-Carter, motivated by retaliatory

animus, because of her public statements against the Defendants, who prosecute sexual

crimes. Also, before terminating her, Defendants prohibited Ms. Gibson-Carter from




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further exercising her First Amendment Rights in the form of public criticism of

Defendants deficiencies in detecting and prosecuting sexual assault crimes by

intimidating her and telling her that she could not speak publicly in the manner that she

had done at City Council meeting and Defendants had no lawful basis to infringe on

Ms. Gibson-Carter’s First Amendment rights in this manner. The “cats paw” theory,

amongst other theories, applies to this case based on the facts incorporated to support

this count because Ms. Gibson-Carter’s termination is obviously a rubber stamp of the

animus and will of the Defendants who signed the subject letter, led by Defendant Meg

Heap.

                                          189.

        Based on the facts incorporated into this Count and the allegations within this

Count, because of the overt actions committed by Defendants in connection with

conspiracy, Ms. Gibson-Carter was injured through the loss of her employment and

income and benefits, emotional distress, humiliation, and other indignities.

                                          190.

        Due to the Defendants’ conduct, based on the facts incorporated into this Count

and the allegations within this Count, Ms. Gibson-Carter is entitled to relief and

compensatory damages permissible under controlling law.




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                                COUNT IV
            CONSPIRACY TO VIOLATE A CONSTITUTIONAL RIGHT
                    IN VIOLATION OF 42 U.S.C. § 1985(3)
                          (Against All Defendants)

                                          191.

       Plaintiff now fully incorporates the facts and assertions found in paragraphs 1-

175 and any other facts this Court deems relevant, as if fully stated herein to support all

allegations made in this Count.

                                          192.

       At all times relevant to this Complaint, Ms. Gibson-Carter had a right to be free

from violations and deprivations of the constitutional rights secured by the law.

                                          193.

       Based on the facts incorporated into this Count and the allegations within this

Count, Defendants conspired against Ms. Gibson-Carter, motivated by retaliatory

animus, because of her public statements against the Defendants, who prosecute sexual

crimes. Also, before terminating her, Defendants prohibited Ms. Gibson-Carter from

further exercising her First Amendment Rights in the form of public criticism of

Defendants deficiencies in detecting and prosecuting sexual assault crimes by

intimidating her and telling her that she could not speak publicly in the manner that she

had done at City Council meeting and Defendants had no lawful basis to infringe on

Ms. Gibson-Carter’s First Amendment rights in this manner. The “cats paw” theory,

amongst other theories, applies to this case based on the facts incorporated to support

this count because Ms. Gibson-Carter’s termination is obviously a rubber stamp of the



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animus and will of the Defendants who signed the subject letter, led by Defendant Meg

Heap.

                                           194.

        Based on the facts incorporated into this Count and the allegations within this

Count, because of the overt actions committed by Defendants in connection with

conspiracy, Ms. Gibson-Carter was injured through the loss of her employment and

income and benefits, emotional distress, humiliation, and other indignities.

                                           195.

        Due to the Defendants’ conduct, based on the facts incorporated into this Count

and the allegations within this Count, Ms. Gibson-Carter is entitled to relief and

compensatory damages permissible under controlling law.

                                    COUNT V
          42 U.S.C. § 1983—VIOLATION OF FIRST AMENDMENT RIGHTS
                              (Against All Defendants)

                                           196.

        Plaintiff now fully incorporates the facts and assertions found in paragraphs 1-

175 and any other facts this Court deems relevant, as if fully stated herein to support all

allegations made in this Count.

                                           197.

        At all times relevant to this Complaint, Ms. Gibson-Carter had a right to be free

from violations and deprivations of the constitutional rights secured by the law.




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                                         198.

      Based on the incorporated facts to support this Count, Defendants

unconstitutionally violated Ms. Gibson-Carter’s First Amendment rights by terminating

her for publicly speaking about her concerns surrounding deficiencies in the system

that prosecutes sexual assault offenders. Ms. Gibson-Carter’s termination occurred

within months of her exercising her First amendment against the District Attorney and

law enforcements agencies that prosecute sexual crimes. Also, before terminating her,

Defendants prohibited Ms. Gibson-Carter from further exercising her First Amendment

Rights in the form of public criticism of Defendants deficiencies in detecting and

prosecuting sexual assault crimes by intimidating her and telling her that she could not

speak publicly in the manner that she had done at City Council meeting and

Defendants had no lawful basis to infringe on Ms. Gibson-Carter’s First Amendment

rights in this manner. The “cats paw” theory, amongst other theories, applies to this

case based on the facts incorporated to support this count because Ms. Gibson-Carter’s

termination is obviously a rubber stamp of the animus and will of the Defendants who

signed the subject letter, led by Defendant Meg Heap.

                                         199.

      As a result of Defendants’ conduct, Ms. Gibson-Carter is entitled to compensable

damages permissible under controlling law.




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                                  COUNT VI
       42 U.S.C. § 1983—VIOLATION OF FIRST AMENDMENT RIGHTS BY
                                RETALIATION
                            (Against All Defendants)

                                          200.

       Plaintiff now fully incorporates the facts and assertions found in paragraphs 1-

175 and any other facts this Court deems relevant, as if fully stated herein to support all

allegations made in this Count.

                                          201.

       At all times relevant to this Complaint, Ms. Gibson-Carter had a right to be free

from violations and deprivations of the constitutional rights secured by the law.

                                          202.

       Based on the incorporated facts to support this Count, Defendants

unconstitutionally retaliated against Ms. Gibson-Carter for exercising her First

Amendment rights through publicly speaking about her concerns surrounding

deficiencies in the system that prosecutes sexual assault offenders. The SCP’s call for her

removal and Ms. Gibson-Carter’s termination occurred within months of her exercising

her First amendment against the District Attorney and law enforcements entities that

prosecute sexual crimes, as described by the facts incorporated to support this Count.

                                          203.

       Based on the incorporated facts to support this Count, and the facts set forth in

this Count, Defendants instigated and continued to ensure the removal of Ms. Gibson-

Carter from her role as Executive Director. Also, before terminating her, Defendants



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prohibited Ms. Gibson-Carter from further exercising her First Amendment Rights in

the form of public criticism of Defendants deficiencies in detecting and prosecuting

sexual assault crimes by intimidating her and telling her that she could not speak

publicly in the manner that she had done at City Council meeting and Defendants had

no lawful basis to infringe on Ms. Gibson-Carter’s First Amendment rights in this

manner. The “cats paw” theory, amongst other theories, applies to this case based on

the facts incorporated to support this count because Ms. Gibson-Carter’s termination is

obviously a rubber stamp of the animus and will of the Defendants who signed the

subject letter, led by Defendant Meg Heap.

                                 COUNT VII
              CLAIM FOR INJUNCTIVE AND DECLARATORY RELIEF
                         (Claim Against All Defendants)

                                            204.

       Plaintiff now fully incorporates the facts and assertions found in paragraphs 1-

175 and any other facts this Court deems relevant, as if fully stated herein to support all

allegations made in this Count.

                                            205.

       At all times relevant to this Complaint, Ms. Gibson-Carter had a right to be free

from violations and deprivations of the constitutional rights secured by the law.

                                            206.

       Based on the incorporated facts to support this Count, and the facts set forth in

this Count, Plaintiff is asking for injective relief in the form of at least restoring her

employment position and awarding her back pay damages. The irreparable harm is


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ongoing and cannot be resolved merely by monetary damages, and governing law

supports restoring Plaintiff to her employment position due to losing that position as a

direct and proximate cause of Defendants’ violating her First Amendment rights, inter

alia. Also, Plaintiff seeks declaratory judgment that she lost her subject employment

position as a direct and proximate cause of Defendants’ violating her First Amendment

rights, inter alia; Ms. Gibson-Carter seeks declaratory judgment on this issue. Ms.

Gibson-Carter’s claims for declaratory and injunctive relief meet all applicable legal

criteria for granting these claims.

                                     COUNT VIII
                                  PUNITIVE DAMAGES

                                          207.

       Based on the facts alleged in this complaint, Ms. Gibson-Carter is entitled to

punitive damages under all applicable laws because Defendants acted with a willful

and conscience indifference to the laws that protect Ms. Gibson-Carter’s Constitutional

and statutory rights.

                                        COUNT IX
                                      ATTORNEY FEES

                                          208.

       Based on the facts alleged in this Complaint, Ms. Gibson-Carter is entitled to

attorney fees under all applicable laws, including fees under 42 U.S.C.A. § 1988 and

applicable portions of 42 U.S.C.A. § 2000e-5.




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                                       COUNT X
                                   SPECIAL DAMAGES

                                            209.

      Based on the facts alleged in this Complaint, Ms. Gibson-Carter is entitled to

special damages of at least two hundred seventy-five thousand dollars ($275,000), a

figure that includes back wages. Ms. Gibson-Carter will obtain an expert to provide an

opinion on this matter.

                                  PRAYER FOR RELIEF

      WHEREFORE, Ms. Gibson-Carter prays for a trial by jury of twelve and

judgment against Defendant as follows:

      (a) The process issue and service be had on each Defendant;

      (b) That judgment be granted in favor of the Plaintiff against the Defendant,

          jointly and severally, for the injuries of Plaintiff;

      (c) That Plaintiff recover compensatory damages including pain and suffering,

          lost income and future lost income, and other expenses in an amount to be

          determined at trial;

      (d) Plaintiff be awarded special damages for her loss earnings and reduction in

          her earning capacity from Defendants;

      (e) That this Court issue an injunction requiring Ms. Gibson-Carter be reinstated

          in her position, and any other equitable relief this court deems necessary and

          justified;

      (f) That Plaintiff recover all costs of this litigation;



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      (g) That a jury trial be had on all issues so triable;

      (h) Plaintiff have Judgment against Defendant for punitive damages; and

      (i) That Plaintiff receives such other and further relief as the Court deems just

         and proper.

                               JURY TRIAL DEMANDED

      A jury trial is demanded by Plaintiff as to all matters.

      Respectfully submitted this 3rd day of June 2019,

                                                  /s/MARIO WILLIAMS
                                                  Mario B. Williams (Ga # 235254)
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